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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE U§§ .ll.l"'l 39 F‘r"'i 32 lt g

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EASTERN DIVISION

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WILLIAM BELCHIA, §
Plaintiff, §

vs. g No. 04-1303-T/An

CORRECTIONS CORPORATlON OF §
AMERICA, et al., §
Defendants. g

 

ORDER DENYING MOTION TO SUPPLEMENT OR AMEND COMPLAINT

 

On November 18, 2004, Plaintiff William Belchia, Tennessee Department of
Correction prisoner number 152705, an inmate at the Whiteville Correctional Facility
("WCF"), filed a § 1983 complaint against Corrections Corporation of America ("CCA"),
the State of Tennessee, Patsy Clark, and A. Whitehurst. In the order entered on June 6,
2005, the Court determined that plaintiff’ s claims against the State ofTennessee Were barred
by sovereign immunity and had not exhausted his administrative remedies on his claims
against A. Whitehurst. The Court directed that service issue for the two remaining
defendants, Patsy Clark and CCA on Belchia’s claim that the defendants have not failed to
provide evaluation and monitoring of his Hepatitis C, in accordance With TDOC Policy
#113.42, because of the associated expense.

On June 21, 2005, Belchia filed a motion to "supplement" his complaint Pursuant
to Fed. Rule Civ. P, l$(d):

[A] court may, upon reasonable notice and upon such terms as are just, permit

the party to serve a supplemental pleadin Settin forth transactions or

occurrences or events W 1ch have happene since t e date of the pleading
sought to be supplemented

Thls document entered on the docket sheet In com fiance
with Rule 58 and.'or_79 (a) FRCP on §

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Belchia seeks, however, not to simply supplement his pleading With continuing occurrences
arising from the denial of treatment for hepatitis, but to add a new claim and two additional
defendants In actuality, Belchia seeks to amend his complaint under Fed. Rule Civ. P.
15(a).

Belchia broke his leg on February 28, 2005. Belchia alleges that Nursing Assistant
D. Spalding and Dr. Cole have failed to provide proper medical treatment for his broken ]eg.
He alleges that Spalding made him hop to the chow hall for his meal after he returned to
WCF from having orthopedic surgery on the leg. He further alleges that Spalding
confiscated his leg brace, stating he would try to make a weapon out of it. Belchia contends
that Dr. Cole has countermanded another doctor’s recommendation and refused to order
physical therapy for his leg.

Rule 15(a) allows plaintiff to file one amendment without leave of court before the
defendants have answered the complaint However, the Court must still perform the
screening function Set forth in 28 U.S.C. § l915(e)(2)(B) and 1915A(b). § Baxter v.
R_cm, 305 F.3d 486, 489-90 (6th Cir. 2002). In particular, the Court must determine Whether
the plaintiff has exhausted his administrative remedies and whether the parties to the
complaint had any involvement with the new claim.

Plaintiff filed a grievance against Cole and Spalding on June 13, 2005. His grievance
was rejected on June 13, 2005, as inappropriate because it concerned diagnosis by medical
professionals Belchia filed an appeal of that response on June 14, 2005. Without Waiting
for any response to his appeal, Belchia filed this motion on June 21, 2005.

Plaintiff’ s complaint, filed on November 18, 2004, raised a claim of denial of medical
treatment for hepatitis C, against two defendants, Health Administrator Patsy Clark and
CCA. His claim for improper treatment for the broken leg arose after he filed this lawsuit
Rather than supplementing or relating to the existing complaint, the new allegations

constitute a claim of denial of medical treatment for an injury distinct and separate from the

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hepatitis C claim. The new claim does not contain allegations of any action or inaction by
existing defendants Clark and CCA. The new allegations pertain to Spalding and Cole
alone Furthermore, Belchia did not name defendants CCA or Clark in the grievance
pertaining to his broken leg.

Plaintiff filed this motion to amend or supplement within one week of appealing his
rejected grievance Arguably he had not exhausted his administrative remedies even against
Spalding and Cole at the time he filed this motion Clearly, he did not exhaust his remedies
against Clark and CCA by naming them in the grievance Most importantly, however,
Belchia was not permitted to exhaust administrative remedies on any claim in this lawsuit
during its pendency. Forty-two U.S.C. § l997(e) requires the prisoner to exhaust his
administrative remedies prior to filing suit and, therefore, he cannot exhaust these remedies
during the pendency ofthe action Freeman v. Francis, 196 F.3d 641 , 645 (6th Cir. 1999).

To the extent plaintiff seeks review of the claim that he was denied proper treatment
for his broken leg, he must exhaust his administrative remedies fully against each person he
seeks to name as a defendant pursuant to 42 U.S.C. § l997e(a). Belchia must file a separate
lawsuit to the extent he seeks relief on the claims presented in his motion Accordingly, the
motion to supplement or amend the complaint is DENIED.

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iris so oRDERED this 30 day Orrune, 2005.

AMES D. TODD
UNITED TATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:O4-CV-01303 was distributed by fax, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

William Belchia

Whiteville Correctional Facility
l 52705

P. O. Box 679

Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

